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                                                        United States District Court
                                                        Central District of California

 UNITED STATES OF AMERICA vs.                                                Docket No.            CR 20-89-JFW

 Defendant           Steve Chen                                              Social Security No.   6       3   7   0
 akas: Li Chen (name prior to naturalization)                                (Last 4 digits)
 Nickname: “Boss”




                                                                                                                   MONTH   DAY   YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.    January 11, 2021

  COUNSEL            Jeremy Matz, Retained
                     (Name of Counsel)

      PLEA           x GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO            NOT
                                                                                                               CONTENDERE        GUILTY
     FINDING         There being a finding of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Conspiracy in violation of 18 U.S.C. § 371 [ct 1]; Tax Evasion in violation of 26 U.S.C. § 7201 [ct 2]
                     as charged in the Two-Count Information filed on February 18, 2020
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant,
  ORDER   Steve Chen, is hereby committed on Counts 1 and 2 of the Information to the custody of the Bureau
                     of Prisons for a term of 120 months. This term consists of 60 months on each of Counts 1 and 2 of the
                     Information, to be served consecutively to each other.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all
necessary treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years. This
term consists of three years on each of Counts 1 and 2 of the Information, all such terms to run concurrently under the
following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
         Office and Second Amended General Order 20-04.

2.       During the period of community supervision, the defendant shall pay the special assessment and restitution in
         accordance with this judgment's orders pertaining to such payment.

3.       The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall
         truthfully and timely file and pay taxes during the period of community supervision. Further, the defendant
         shall show proof to the Probation Officer of compliance with this order.

4.       The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered
         financial obligation. In addition, the defendant shall apply all monies received from lottery winnings,
         inheritance, judgments and any anticipated or unexpected financial gains to the outstanding Court-ordered
         financial obligation.

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5.       The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business involving
         loan programs, telemarketing activities, investment programs or any other business involving the solicitation of
         funds or cold-calls to customers without the express approval of the Probation Officer prior to engaging in such
         employment. Further, the defendant shall provide the Probation Officer with access to any and all business
         records, client lists, and other records pertaining to the operation of any business owned, in whole or in part, by
         the defendant, as directed by the Probation Officer.

6.       The defendant shall submit his, property, house, residence, vehicle, papers, computers (as defined
         in 18 U.S.C. § 1030(e)(1)), cell phones, other electronic communications or data storage devices or media,
         email accounts, social media accounts, cloud storage accounts, or other areas under the defendant's control, to a
         search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a search
         may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject
         to searches pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable
         time and in a reasonable manner upon reasonable suspicion that the defendant has violated a condition of his
         supervision and that the areas to be searched contain evidence of this violation.

7.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

As to Count 2, it is ordered that the defendant shall pay restitution in the total amount of $1,885,094 pursuant to 18
U.S.C. § 3663(a)(3).

The amount of restitution ordered shall be paid as follows:

Victim                                 Amount
Internal Revenue Service               $1,885,094

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to
the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least 10 percent of defendant's gross monthly income but not
less than $100, whichever is greater, shall be made during the period of supervised release and shall begin 30 days after
the commencement of supervision. Nominal restitution payments are ordered as the Court finds that the defendant's
economic circumstances do not allow for either immediate or future payment of the amount ordered.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

As to Count 1, it is ordered that the defendant shall pay restitution pursuant to 18 U.S.C. § 3663A. Pursuant to 18
U.S.C. § 3664(d)(5), a final determination of the victim's losses will be ordered at a deferred restitution hearing after
such information becomes available. An amended judgment will be entered after such determination.

It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.


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The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
poses a low risk of future substance abuse.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or
before 12 noon, on July 26, 2021. In the absence of such designation, the defendant shall report on or before the same
date and time, to the United States Marshal located at the Edward R. Roybal Federal Building and U.S. Courthouse,
255 East Temple Street, Suite 1410, Los Angeles, CA 90012.

Bond Exonerated upon self surrender of defendant.

Defendant informed of right to appeal.

Court recommends that the defendant be placed in FCI Lompoc or Terminal Island..

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            January 11, 2021
            Date                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            January 11, 2021                                By
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below).
       X
             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




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